           Case 8:17-bk-10460-RCT            Doc 20    Filed 04/27/18   Page 1 of 1



                   IN THE UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

IN RE:                                                CHAPTER 7
Lobosco, Lara Anne
Debtor(s)                                             CASE NO.: 8:17-bk-10460-RCT
________________________/

 NOTICE OF WITHDRAWAL OF NOTICE OF INTENT TO ABANDON PROPERTY

   COMES NOW the Trustee, NICOLE M. CAMERON, and hereby files her Notice of Intent to

Abandon Property [Doc. No. 19]:

   1. The Trustee filed a Notice of Intent to Abandon Property on April 27, 2018.

   2. The Trustee mistakenly entered filed the Notice of Intent to Abandon Property as the

       property be abandoned is a vehicle.

   3. Therefore, Trustee hereby withdraws the Notice of Intent to Abandon Property.

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Trustee’s Notice of
Withdrawal has been sent by U.S. Mail or the Court’s CM/ECF system to Asst. U.S. Trustee, 501
E. Polk St., #1200, Tampa, FL 33602; Lara Anne Lobosco, 601 BALSAM APPLE DR, VENICE,
FL 34293 and LAURIE L BLANTON, Esq., Blanton Law, P.A., 1100 C. South Tamiami Trail,
Venice, FL 34285 and all Creditors on the attached Matrix on April 27, 2018.



                                    __/s/ Nicole M. Cameron________
                                    Nicole M. Cameron, Trustee
                                    235 Apollo Beach Blvd., #231
                                    Apollo Beach, FL 33572
                                    (813) 645-8787
                                    FBN: 0036860
                                    trustee@tampabay.rr.com
